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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

KENT GRAHAM and                                    §
COLETTE SAVAGE,                                    §
                                                   §
                Plaintiffs,                        §
                                                   §                 1:21-cv-151-RP
v.                                                 §
                                                   §
MARK SAVAGE, et al.,                               §
                                                   §
                Defendants.                        §

                                               ORDER

        Before the Court is the report and recommendation of United States Magistrate Judge Susan

Hightower concerning Judge Lee Harris’s First Amended Motion to Dismiss, (Dkt. 26); Chief

Justice Thomas Gray’s First Amended Motion to Dismiss, (Dkt. 27); Defendant Michael

McDonald’s Motion to Dismiss, (Dkt. 29); Defendant Rex Davis’s First Amended Motion to

Dismiss, (Dkt. 33); Defendant Mark Savage’s First Amended Motion to Dismiss, (Dkt. 39);

Defendant Mark Savage’s Motion to Have Plaintiff Colette Savage Declared a Vexatious Litigant,

(Dkt. 41); Defendants Michael McDonald, Rex Davis, and Mark Savage’s Motions for Judicial

Notice, (Dkts. 30, 34 & 40); the Judicial Defendants’ Motion to Stay Scheduling Conference and

Discovery, (Dkt. 46); Plaintiffs Kent Graham and Colette Savage’s (“Plaintiffs”) Motion to Declare

Defendants as True Vexatious Litigants, (Dkt. 63); Plaintiffs’ Motions for Extension of Time to File

Response/Reply Briefs, (Dkts. 53 & 66); Plaintiffs’ Motion to Amend Complaint, (Dkt. 71); and

Plaintiffs’ Motion to Offer Proof, (Dkt. 74). (R. & R., Dkt. 75).

        In her report and recommendation, Judge Hightower recommends that the Court grant

Defendants Judge Lee Harris’s First Amended Motion to Dismiss, (Dkt. 26), Chief Justice Thomas

Gray’s First Amended Motion to Dismiss, (Dkt. 27), Defendant Michael McDonald’s Motion to

Dismiss, (Dkt. 29), Defendant Rex Davis’s First Amended Motion to Dismiss, (Dkt. 33), and
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Defendant Mark Savage’s First Amended Motion to Dismiss, (Dkt. 39), and dismiss this case with

prejudice for lack of subject matter jurisdiction. Judge Hightower also recommends that this Court

issue a pre-filing injunction declaring that Colette Savage may not file any future actions in the

Western District of Texas challenging the Texas Note, the Deed of Trust, the foreclosure of her

property, or any Texas State Court rulings on those matters, without receiving written leave from a

federal district judge for this district. (R. & R., Dkt. 75, at 12).

        Several parties filed objections. Defendant Mark Savage timely filed objections to the report

and recommendation, requesting that the pre-filing injunction be global and applicable in all state

and federal courts, not just the Western District of Texas. (Objs., Dkt. 81). Plaintiffs Kent Graham

and Colette Savage timely filed objections to the report and recommendation. (Objs., Dkt. 82).

Defendant Michael McDonald timely filed objections to the report and recommendation, joining

Mark Savage’s objections. (Objs., Dkt. 83). Plaintiffs also filed many other documents that seem to

be responses, notices, and/or motions. (See, e.g., Dkts. 84-96). To the extent any of those filings are

timely and properly before this Court, the Court considers them in conjunction with the report and

recommendation.

        A party may serve and file specific, written objections to a magistrate judge’s findings and

recommendations within fourteen days after being served with a copy of the report and

recommendation and, in doing so, secure de novo review by the district court. 28 U.S.C.

§ 636(b)(1)(C). Because Plaintiffs and Defendants Mark Savage and Michael McDonald timely

objected to the report and recommendation, the Court reviews the report and recommendation de

novo. Having done so, the Court overrules the parties’ objections and adopts the report and

recommendation as its own order.

        Accordingly, the Court ORDERS that the report and recommendation of United States

Magistrate Judge Susan Hightower, (Dkt. 75), is ADOPTED.


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        IT IS FURTHER ORDERED that Defendants Judge Lee Harris’s First Amended

Motion to Dismiss, (Dkt. 26), Chief Justice Thomas Gray’s First Amended Motion to Dismiss, (Dkt.

27), Defendant Michael McDonald’s Motion to Dismiss, (Dkt. 29), Defendant Rex Davis’s First

Amended Motion to Dismiss, (Dkt. 33), and Defendant Mark Savage’s First Amended Motion to

Dismiss, (Dkt. 39), are GRANTED.

        IT IS FURTHER ORDERED that this case is DISMISSED WITH PREJUDICE for

lack of subject matter jurisdiction.

        IT IS FINALLY ORDERED that Colette Savage is ENJOINED from filing any future

actions in the Western District of Texas challenging the Texas Note, the Deed of Trust, the

foreclosure of her property, or any Texas State Court rulings on those matters, without receiving

written leave from a federal district judge for this district.

        SIGNED on January 20, 2022.




                                                  ROBERT PITMAN
                                                  UNITED STATES DISTRICT JUDGE




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